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     AMAZON WEB SERVICES, INC. and
11   AMAZON.COM SERVICES LLC
12                            UNITED STATES DISTRICT COURT
13                           NORTHERN DISTRICT OF CALIFORNIA
14                               SAN FRANCISCO DIVISION
15

16   BSD CROWN, LTD.,                         Case No. 3:24-CV-3503-JD

17              Plaintiff,                    NOTICE OF APPEARANCE OF NATHAN
                                              B. SABRI, STEFANI E. SHANBERG,
18        v.                                  ROBIN L. BREWER, MATHIEU A.
                                              SWIDERSKI, AND KARL M. JOHNSTON
19   AMAZON.COM, INC.,                        ON BEHALF OF DEFENDANTS
     AMAZON WEB SERVICES, INC. and
20   AMAZON.COM SERVICES LLC,

21              Defendants.

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                                                                      3:24-CV-3503-JD
                                      NOTICE OF APPEARANCE ON BEHALF OF DEFENDANTS
         Case 3:24-cv-03503-JD Document 20 Filed 07/19/24 Page 2 of 2



 1   TO THE COURT AND ALL ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that Nathan B. Sabri, Stefani E. Shanberg, Robin L. Brewer,
 3   Mathieu A. Swiderski, and Karl M. Johnston of Perkins Coie LLP hereby enter their appearance
 4   as counsel on behalf of Defendants Amazon.com, Inc., and Amazon.com Services LLC in the
 5   above-referenced action. Please serve said counsel with all pleadings and notices in this action.
 6          NATHAN B. SABRI (Bar No. 252216)
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15   Dated: July 19, 2024                                 PERKINS COIE LLP

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17                                                        By: /s/ Nathan Sabri
                                                            Nathan Sabri
18

19                                                        Attorneys for Defendants
                                                          AMAZON.COM, INC.,
20                                                        AMAZON WEB SERVICES, INC. and
                                                          AMAZON.COM SERVICES LLC
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